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                               DECLARATION OF SERVICE

       I, DOUGLAS J. GOGLIA, do hereby declare under penalty of perjury, that I

electronically filed the foregoing with the Clerk of the District Court using the CM/ECF system,

and that a true and correct copy of the same was served by First-Class Mail and by E-mail upon:

       Xu-Shen Zhou
       8 Wilbur Road
       New Hartford, NY 13413
       jasonbz4@yahoo.com

       I declare under penalty of perjury that the foregoing is true and correct. Executed on

October 5, 2009. 28 U.S.C. § 1746.

                                                      s/ Douglas J. Goglia
                                                      DOUGLAS J. GOGLIA
                                                      Assistant Attorney General
                                                      Bar Roll No. 302406
